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Attorneys for Plaintiff

                  IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF ALASKA

UNITED STATES OF AMERICA,               )   No.
                                        )
                    Plaintiff,          )   COUNTS 1, 2, and 3:
                                        )   ATTEMPTED ENTICEMENT OF
            vs.                         )   A MINOR
                                        )    Vio. of 18 U.S.C. § 2422(b)
KALEB L. BASEY,                         )
                                        )   COUNT 4:
                    Defendant.          )   RECEIPT OF CHILD
                                        )   PORNOGRAPHY
                                        )    Vio. of 18 U.S.C. § 2252(a)(2)
                                        )

                                 INDICTMENT

      The Grand Jury charges that:

                                  COUNT ONE

                  Attempted Coercion and Enticement of a Minor

      On or about November 23, 2013, in the District of Alaska, the

defendant, KALEB L. BASEY, did, using a facility and means of interstate



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and foreign commerce, knowingly attempt to persuade, induce, entice, and

coerce “D_______900,” an individual who he believed had not attained the

age of 18 years, to engage in any sexual activity for which any person can be

charged with a criminal offense, to wit: Sexual Abuse of a Minor in the Third

Degree, in violation of Alaska Penal Code Section 11.41.438(a).

      All of which is in violation of Title 18, United States Code, Section

2422(b).

                                   COUNT TWO

                  Attempted Coercion and Enticement of a Minor

      Between on or about August 30, 2013, and November 14, 2013, in the

District of Alaska, the defendant, KALEB L. BASEY, did, using a facility and

means of interstate and foreign commerce, knowingly attempt to persuade,

induce, entice, and coerce “g_______22,” an individual who he believed had

not attained the age of 18 years, to engage in any sexual activity for which

any person can be charged with a criminal offense, to wit: Sexual Abuse of a

Minor in the Third Degree, in violation of Alaska Penal Code Section

11.41.438(a).

           In violation of Title 18, United States Code, Sections 2422(b).

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                                COUNT THREE

                 Attempted Coercion and Enticement of a Minor

      On or about December 31, 2013, in the District of Alaska, the

defendant, KALEB L. BASEY, did, using a facility and means of interstate

and foreign commerce, knowingly attempt to persuade, induce, entice, and

coerce “j_________123,” an individual who he believed had not attained the

age of 18 years, to engage in any sexual activity for which any person can be

charged with a criminal offense, to wit: Production of Child Pornography, in

violation of Title 18, United States Code, Section 2251(a).

      All of which is in violation of Title 18, United States Code, Section

2422(b).

                                    COUNT FOUR

                           Sexual Exploitation of Children -
                            Receipt of Child Pornography

      On or about a date unknown to the Grand Jury, but no later than on or

about January 18, 2014, within the District of Alaska, the defendant, KALEB

L. BASEY, did knowingly receive visual depictions, including, but not limited

to, “bibigonvidspic.jpg,” “1386993905798.jpg,” “1384381974268.jpg,”

“1384381377876.jpg,” “1385537132463.jpg,” “1387919236224.jpg,”

“1383782625684.jpg,” “1385869593972.jpg,” “Hv319 Falko – Video4.avi,”

“Falko_1(01).mp4,” “new feb2012 mom son.avi,” and “Linda BJ.avi,” using a

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means and facility of interstate and foreign commerce, and that had been

transported in and affecting interstate and foreign commerce, and which

contained materials which had been so transported, by any means, including

by computer, where the production of such visual depictions involved the use

of a minor engaging in sexually explicit conduct, as defined in Title 18,

United States Code, Section 2256(2), and such visual depictions were of such

conduct.

      All of which is in violation of Title 18, United States Code, Section

2252(a)(2) and (b)(1).

      A TRUE BILL.


                                          s/ Grand Jury Foreperson
                                          GRAND JURY FOREPERSON


s/ Kyle Reardon
KYLE REARDON
Assistant United States Attorney
United States of America


s/ Karen L. Loeffler
KAREN L. LOEFFLER
United States Attorney
United States of America


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